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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------- X
 eShares, Inc. d/b/a Carta, Inc.,                     :
                                                      :
                        Plaintiff,                    : Civil Action No.: 1:22-cv-10987
                                                      :
          v.                                          : Hon. Jessica G. L. Clarke
                                                      :
 Jerry O. Talton, III,                                :
                                                      :
                        Defendant.
                                                      :
                                                      : NOTICE OF WITHDRAWAL OF
 ---------------------------------------------------- X APPEARANCE AND ORDER
 ----------------------------------------------------   X
 Jerry O. Talton, III,                                  :
                                                        :
                       Counterclaim Plaintiff,          :
                                                        :
          v.                                            :
                                                        :
 eShares, Inc. d/b/a/ Carta, Inc., and                  :
 Henry Ward,                                            :
                Counterclaim Defendants.                :
                                                        :
                                                        X

           TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

        PLEASE TAKE NOTICE that, pursuant to Southern District of New York Local Civil

Rule 1.4(b), I, Andrew J. Levander, hereby respectfully withdraw my appearance as counsel for

Henry Ward in the above-captioned action. I continue to represent eShares, Inc. d/b/a Carta, Inc.

in this action.

        Mr. Ward is now being represented by Sean Hecker and Shawn G. Crowley of Hecker Fink

LLP. See ECF Nos. 167, 168. My withdrawal as counsel for Mr. Ward will not affect any

deadlines or cause any delay in this matter. I confirm that neither I nor Dechert LLP are asserting

a retaining or charging lien against Mr. Ward. I further confirm that Mr. Ward was aware of, and

consented to, my withdrawal as his counsel of record in this matter.
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Dated: New York, New York                           DECHERT LLP
       May 29, 2025
                                                    By: /s/ Andrew J. Levander
                                                    Andrew J. Levander
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                                                    New York, NY 10036-6797
                                                    andrew.levander@dechert.com
                                                    Tel.: (212) 698-3500
                                                    Fax: (212) 698-3599


SO ORDERED


___________________________


The Honorable Jessica G. L. Clarke
United States District Judge

Dated: March 30, 2025
      New York, New York
